       Case 3:14-cr-01288-DMS               Document 766           Filed 07/29/15           PageID.3718         Page 1 of 4

AO 2458 (CASDRev. 08/13) Judgment in a Criminal Case                                                           FILED
                                                                                                                              r­

                                      UNITED STATES DISTRICT Co                                                JUL 2 S    I
                                                                                                                              '1
                                                                                                                              \.'




                                         SOUTHERN DISTRICT OF CALIFORNIA
            UNITED STATES OF AMERICA
                                 V.                                (For Offenses Committed On or After November 1, 1987)
             LEON FRANKLIN (5) aka Stone
                                                                       Case Number:         14CR1288-DMS

                                                                   MICHAEL EDMUND BURKE
                                                                    Defendant's Attorney
REGISTRAnON NO.                  47118298
o­
THE DEFENDANT:
IZl pleaded guilty to count(s)         1 of the Indictment

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                       Nature of Offense                                                              Number(sl
18 USC 1962(d)                        CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS                                          I
                                      THROUGH A PATTERN OF RACKETEERING ACTIVITY




     The defendant is sentenced as provided in pages 2 through                4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

o The defendant has been found not guilty on count(s)
o Count(s)                                                    is          dismissed on the motion of the United States.

       Assessment: $100.00.
 IZl


 IZl No fine                 0 Forfeiture pursuant to order filed                                               , included herein.
        IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    7/29/2015
                                                                    Date of Imposition of Sentence
                                                                    Entry of Judgment w~~ until March 25, 2015
                                                                            ,,':::h))a ~
                                                                    HON. DANA M. SABRA W
                                                                    UNITED STATES DISTRICT JUDGE


                                                                                                                   14CR1288-DMS
       Case 3:14-cr-01288-DMS           Document 766        Filed 07/29/15       PageID.3719            Page 2 of 4

AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                  LEON FRANKLIN (5) aka Stone                                               Judgment - Page 2 of 4
CASE NUMBER:                14CR1288-DMS



                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 ONE HUNDRED AND EIGHT (108) MONTHS.




 o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI    The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends that the defendant participate in the RDAP program and be placed in an
        institution in the Southern California area to facilitate visitations with family members.



 o      The defendant is remanded to the custody of the United States Marshal.

 o      The defendant shall surrender to the United States Marshal for this district:
        o     at                            A.M.              on
        o
                 -----------------
              as notified by the United States Marshal.
                                                                   ------------------------------------
        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o      Prisons:
         o    on or before
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                       RETURN
 I have executed this judgment as follows:

         Defendant delivered on
                                  ------------------------- to ------------------------------
 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                      By                   DEPUTY UNITED STATES             HJ.;:-1J.U..H




                                                                                                            14CR1288-DMS
            Case 3:14-cr-01288-DMS                  Document 766               Filed 07/29/15            PageID.3720              Page 3 of 4

     AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

     DEFENDANT:                   LEON FRANKLIN (5) aka Stone                                                                   Judgment - Page 3 of 4
     CASE NUMBER:                 14CR1288-DMS

                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o          substance abuse. (Check, if applicable.)
           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
           The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
           Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
           The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
           resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
[J         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

            If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
       such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
       Payments set forth in this judgment.
           The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
       with any special conditions imposed.
                                         STANDARD CONDITIONS OF SUPERVISION
      I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)  the defendant shall support his or her dependents and meet other family responsibilities;
      5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons:
      6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7) the defendant shall refrain from excessive use of alcohol and shall not purcha.<;e. possess, use, distribute, or administer any controlled substance or
          any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
      10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit c{)nfiscation of any contraband
          observed in plain view of the probation officer;
      II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
          the court; and
      13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
          with such notification requirement.



                                                                                                                                     14CR1288-DMS
     Case 3:14-cr-01288-DMS         Document 766        Filed 07/29/15     PageID.3721        Page 4 of 4

AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:            LEON FRANKLfN (5) aka Stone                                           Judgment - Page 4 of 4
CASE NUMBER:          14CR1288-DMS

                               SPECIAL CONDITIONS OF SUPERVISION

1.     Not enter or reside in the Republic of Mexico without permission of the court or probation officer.

2.     Report vehicles owned or operated, or in which you have an interest, to the probation officer.

3.     Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
       Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
       or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
       revocation; the defendant shall warn any other residents that the premises may be subject to searches
       pursuant to this condition.

4.     Shall not associate with any member, prospect, or associate of the West Coast Crips, or any other gang,
       or club with a history of criminal activity, unless given permission by the probation officer.

5.     Not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials associated
       with a gang, unless given permission by the probation officer.

6.     Not loiter, or be present in locations known to be areas where gang members congregate, unless given
       permission by the probation officer.

7.     Seek and maintain full time employment and/or schooling or a combination of both.

8.     Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period up to 120
       days.

II




                                                                                                14CR1288-DMS
